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   IN TH DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:12cr104-MHT
PAUL HULSE, SR.                    )          (WO)

                        OPINION AND ORDER

    On January 2, 2014, the court held an on-the-record

telephone conference to discuss defendant Paul Hulse, Sr.’s

motion to postpone his surrender date for several months

due to treatment for his long-term medical needs.                  During

that conference, the court also learned that Hulse was then

experiencing flu-like symptoms.             The motion to postpone

because of Hulse’s long-term needs was denied, but the

court invited Hulse to provide documentation from a doctor

that he had the flu or another infection that would justify

postponing his surrender date, albeit for only a matter of

days.

    Hulse subsequently filed two additional motions to

postpone his surrender date.           In the motions, he informed
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the    court     that     his     doctor      was    unable     to   provide

documentation as promptly as needed. Because all the third

motion did was to clarify the second, court is treating

both motions as one request.                  However, because Hulse’s

request is ambiguous as to whether he seeks to provide one

or two types of documentation, the court is treating his

request as seeking to provide the following two types of

documentation: first, supplemental documentation in support

of his argument that his long-term medical needs warrant

delaying     his      surrender      date    for    several   months;      and,

second, documentation that, as of last week, he had the flu

or was suffering from flu-like symptoms.

      As to the first, the court did not invite further

documentation as to this issue; the court has already

denied his request to delay his surrender for several

months.        That    issue    is    now    resolved,    and   no   further

documentation is warranted.                 As to the second, the court

will give Hulse the benefit of the doubt, and the court now

assumes that, as of last week, he did, indeed, have the flu



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or   was   suffering     from    flu-like     symptoms.        With       this

assumption, the court no longer needs documentation as to

this issue. The court will therefore grant Hulse’s request

to delay his surrender, albeit for only two days (from

January 6 to January 8, 2014), and with the understanding

that the reason behind the delay is not so that he can

provide further documentation but rather so that he will be

in better physical shape to surrender to the Bureau of

Prisons.

                                    ***

     Therefore, it is ORDERED that defendant Paul Hulse

Sr.’s motions to postpone surrender date (doc. nos. 418 &

419) are granted to the extent that defendant Hulse shall

surrender for service of sentence on or before 2:00 p.m. on

January 8, 2014.       There is no longer any need for defendant

Hulse to provide documentation.

     DONE, this the 6th day of January, 2014.


                               /s/ Myron H. Thompson
                            UNITED STATES DISTRICT JUDGE
